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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

x
In re Chapter 11
Nortel Networks Inc., et al.,' Case No. 09-10138 (KG)
Debtors. Jointly Administered
x

NOTICE OF AMENDED? AGENDA OF MATTERS SCHEDULED FOR
HEARING ON OCTOBER 19, 2011 AT 10:00 A.M. (EASTERN TIME)

THE HEARING HAS BEEN CANCELLED AT THE DIRECTION OF THE COURT

By permission of chambers, any party wishing to participate telephonically must make
arrangements through CourtCall at least one hour prior to the hearing. CourtCall has been
made aware of this extended deadline. CourtCall will not accept reservations after the extended
deadline has passed without permission of chambers. Please do not contact chambers prior to the
expiration of the extended deadline.

CONTINUED/RESOLVED/WITHDRAWN MATTERS

1.

Debtors’ Fourteenth Omnibus Objection (Substantive) To Certain Claims Pursuant To 11
U.S.C. § 502, Fed. R. Bankr. P. 3007 And Del. L.R. 3007-1 (No Liability Claims, Reduce
And Allow Claims, Redundant Claims, Satisfied Claims, Wrong Debtor Claims, No-
Basis 503(b)(9) Claims And Misclassified 503(b)(9) Claims) (D.I. 3942, Filed 9/14/10).

Objection Deadline: October 7, 2010 at 4:00 p.m. (ET). Extended for Amphenol
Corporation and its affiliates to October 20, 2011 at 4:00 p.m. (ET). Extended for the

Debtors, with respect to Unisys's response to the objection, to October 12, 2011 at 4:00
p.m. (ET).

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification
number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems
Inc. (9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera
Corporation (0251), CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc.
(2846), Nortel Networks Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel
Systems (U.S.) Corporation (3826), Nortel Networks International Inc. (0358), Northern Telecom
International Inc. (6286), Nortel Networks Cable Solutions Inc. (0567) and Nortel Networks (CALA) Inc.
(4226). Contact information for the Debtors and their petitions are available at
http://dm.epiq! 1.com/nortel.

Amended items appear in bold.
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Remaining Response Received:

(a) Response Of Unisys Corporation To Debtors’ Fourteenth Omnibus Objection
(Substantive) To Certain Claims Pursuant To 11 U.S.C. § 502, Fed. R. Bankr. P.
3007 And Del. L.R. 3007-1 (No Liability Claims, Reduce And Allow Claims,
Redundant Claims, Satisfied Claims, Wrong Debtor Claims, No-Basis 503(b)(9)
Claims And Misclassified 503(b)(9) Claims) Filed by Unisys Corporation (D.L
4106, Filed 10/7/10).

Related Pleading:

(a) Order Granting Debtors’ Fourteenth Omnibus Objection (Substantive) To Certain
Claims Pursuant To 11 U.S.C. § 502, Fed. R. Bankr. P. 3007 And Del. L.R. 3007-
1 (No Liability Claims, Reduce And Allow Claims, Redundant Claims, Satisfied
Claims, Wrong Debtor Claims, No-Basis 503(b)(9) Claims And Misclassified
503(b)(9) Claims) (D.I. 4163, Filed 10/14/10).

Status: The hearing with respect to the objections to Claim Nos. 5500, 5501, 5502, 5504,
5505 and 5506 filed by Amphenol Corporation and its affiliates has been adjourned to the
hearing scheduled for October 26, 2011 at 10:00 am. (ET). The hearing with respect to
the response filed by Unisys Corporation has been adjourned to the hearing scheduled for
January 10, 2012 at 10:00 a.m. (ET).

Debtors’ Fifteenth Omnibus Objection (Substantive) To Certain Claims Pursuant To 11
U.S.C. § 502, Fed. R. Bankr. P. 3007 And Del. L.R. 3007-1 (No Liability Claims, Reduce
And Allow Claims, Redundant Claims, Satisfied Claims, Wrong Debtor Claims And No-
Basis 503(b)(9) Claims) (D.I. 4126, Filed 10/8/10).

Objection Deadline: October 25, 2010 at 4:00 p.m. (ET). Extended for GE Fanuc to
October 5, 2011 at 4:00 p.m. (ET).

Remaining Responses Received:

(a) Response To Debtors’ Fifteenth Omnibus Objection (Substantive) To Certain
Claims Pursuant To 11 U.S.C. § 502, Fed. R. Bankr. P. 3007 And Del. L.R. 3007-
1 (No Liability Claims, Reduce And Allow Claims, Redundant Claims, Satisfied
Claims, Wrong Debtor Claims And No-Basis 503(b)(9) Claims), Filed by
Commonwealth of Virginia, Department of Taxation (D.I. 4187, Filed 10/22/10).

Related Pleadings:

(a) Order Granting Debtors’ Fifteenth Omnibus Objection (Substantive) To Certain
Claims Pursuant To 11 U.S.C. § 502, Fed. R. Bankr. P. 3007 And Del. L.R. 3007-
1 (No Liability Claims, Reduce And Allow Claims, Redundant Claims, Satisfied
Claims, Wrong Debtor Claims And No-Basis 503(b)(9) Claims) (D.I. 4256, Filed
11/8/10); and
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(b) First Supplemental Order Granting Debtors’ Fifteenth Omnibus Objection
(Substantive) To Certain Claims (No Liability Claims, Reduce And Allow
Claims, Redundant Claims, Satisfied Claim, Wrong Debtor Claims And No-Basis
503(b)(9) Claims) (D.I. 4403, Filed 11/23/10).

Status: The hearing with respect to the response filed by the Commonwealth of Virginia,
Department of Taxation has been adjourned to the hearing scheduled for October 26,
2011 at 10:00 am. (ET). The hearing with respect to the objection to Claim No. 7077
filed by GE Fanuc has been adjourned to the hearing scheduled for January 24, 2012 at
10:00 a.m. (ET).

Debtors’ Motion for an Order Pursuant to 11 U.S.C. Sections 105, 541, 542 and 543 and
Bankruptcy Rule 9019 (1) Approving the Stipulation By and Between NNI and U.S. Bank
National Association, (II) Directing U.S. Bank National Association to Turn Over
Property to NNI, and (II) Granting Related Relief Related to the Nortel Networks U.S.
Deferred Compensation Plan (D.I. 4638, Filed 12/22/10).

Objection Deadline: January 21, 2011 at 4:00 p.m. (ET).

Responses Received:

(a) Response of Robert Horne to Debtors’ Motion for an Order Pursuant to 11 U.S.C.
Sections 105, 541, 542 and 543 and Bankruptcy Rule 9019 (1) Approving the
Stipulation by and between NNI and U.S. Bank National Association, (ID)
Directing U.S. Bank National Association to Turn Over Property to NNI, and (II)
Granting Related Relief Related to the Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4710, Filed 1/13/11);

(b) Amended Response of Robert Horne to Motion and Stipulation (D.I. 4723, Filed
1/18/11);

(c) Response of Ellen Bevarnick to Debtors’ Motion for an Order Pursuant to 11
U.S.C. Sections 105, 541, 542 and 543 and Bankruptcy Rule 9019 (1) Approving
the Stipulation by and between NNI and U.S. Bank National Association, (II)
Directing U.S. Bank National Association to Turn Over Property to NNI, and (IIT)
Granting Related Relief Related to the Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4729, Filed 1/20/11);

(d) Objection of Darnell D. Barber-Moye to Debtors’ Motion for an Order Pursuant
to 11 U.S.C. Sections 105, 541, 542 and 543 and Bankruptcy Rule 9019 (1)
Approving the Stipulation by and between NNI and U.S. Bank National
Association, (II) Directing U.S. Bank National Association to Turn Over Property
to NNI, and (III) Granting Related Relief Related to the Nortel Networks U.S.
Deferred Compensation Plan (D.I. 4742, Filed 1/24/11);

(e) Objection of Peter S. Budihardjo to Debtors’ Motion for an Order Pursuant to 11
U.S.C. Sections 105, 541, 542 and 543 and Bankruptcy Rule 9019 (I) Approving
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the Stipulation by and between NNI and U.S. Bank National Association, (ID
Directing U.S. Bank National Association to Turn Over Property to NNI, and (II)
Granting Related Relief Related to the Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4743, Filed 1/24/11);

Objection of Girishkumar Patel to Debtors’ Motion for an Order Pursuant to 11
U.S.C. Sections 105, 541, 542 and 543 and Bankruptcy Rule 9019 (1) Approving
the Stipulation by and between NNI and U.S. Bank National Association, (II)
Directing U.S. Bank National Association to Turn Over Property to NNI, and (IID)
Granting Related Relief Related to the Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4744, Filed 1/24/11);

Objection of Peter Cassidy to Debtors’ Motion for an Order Pursuant to 11 U.S.C.
Sections 105, 541, 542 and 543 and Bankruptcy Rule 9019 (I) Approving the
Stipulation by and between NNI and U.S. Bank National Association, (ID)
Directing U.S. Bank National Association to Turn Over Property to NNI, and (III)
Granting Related Relief Related to the Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4745, Filed 1/24/11);

Response of Roger J. Bushnell to Debtors’ Motion for an Order Pursuant to 11
U.S.C. Sections 105, 541, 542 and 543 and Bankruptcy Rule 9019 (I) Approving
the Stipulation by and between NNI and U.S. Bank National Association, (II)
Directing U.S. Bank National Association to Turn Over Property to NNI, and (III)
Granting Related Relief Related to the Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4746, Filed 1/24/11);

Objection of Semra Tariq to Debtors’ Motion for an Order Pursuant to 11 U.S.C.
Sections 105, 541, 542 and 543 and Bankruptcy Rule 9019 (I) Approving the
Stipulation by and between NNI and U.S. Bank National Association, (ID)
Directing U.S. Bank National Association to Turn Over Property to NNI, and (IID)
Granting Related Relief Related to the Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4760, Filed 1/25/11);

Objection of Peter Murphy to Debtors’ Motion for an Order Pursuant to 11 U.S.C.
Sections 105, 541, 542 and 543 and Bankruptcy Rule 9019 (1) Approving the
Stipulation by and between NNI and U.S. Bank National Association, (II)
Directing U.S. Bank National Association to Turn Over Property to NNI, and (III)
Granting Related Relief Related to the Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4761, Filed 1/26/11);

Objection of Timothy R. Pillow to Debtors’ Motion for an Order Pursuant to 11
U.S.C. Sections 105, 541, 541 and 543 and Bankruptcy Rule 9019 (1) Approving
the Stipulation by and between NNI and U.S. Bank National Association, (II)
Directing U.S. Bank National Association to Turn Over Property to NNI, and (ID
Granting Related Relief Related to the Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4764, Filed 1/26/11);
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Response of Robert Wohlford to Debtors’ Motion for an Order Pursuant to 11
U.S.C. Sections 105, 541, 541 and 543 and Bankruptcy Rule 9019 (I) Approving
the Stipulation by and between NNI and U.S. Bank National Association, (I)
Directing U.S. Bank National Association to Turn Over Property to NNI, and (II)
Granting Related Relief Related to the Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4770, Filed 1/28/11);

Objection of Richard R. Standel, Jr. to Motion to Approve Compromise (D.I.
4784, Filed 1/31/11);

Objection of Cecil Raynor to Motion for an Order Approving the Stipulation by
and between NNE and U.S. Bank National Association (D.I. 4785; Filed 1/31/11);

Objection of Neil A. Covey to Motion to Approve Compromise (i) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4791, Filed 2/1/11);

Objection of Ben Warren to Motion to Approve Compromise (i) Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4792, Filed 2/1/11);

Objection of John E. Sheppard to Motion to Approve Compromise (i) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4793, Filed 2/1/11);

Objection of Peter J. MacLaren to Motion to Approve Compromise (i) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4794, Filed 2/1/11);

Objection of David Dautenhahn to Motion to Approve Compromise (1) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4795, Filed 2/2/11);

Objection of Elias Cagiannos to Motion to Approve Compromise (i) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
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Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4796; Filed 2/2/11);

Objection of James R. Long to Motion to Approve Compromise (ii) Directing
U.S. Bank National Association To Turn Over Property To NNI, And (iil)
Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation (D.I. 4797; Filed 2/2/11);

Objection of Dan Mondor to Motion to Approve Compromise (i) Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation (D.I. 4798; Filed 2/2/11);

Objection of Barry D’Amour to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (4) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4799, Filed 2/3/11);

Objection of Prabir Das to Debtors’ Motion For An Order Pursuant To 11 U.S.C.
Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i) Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4800, Filed 2/3/11);

Objection of John Kalfa to Debtors’ Motion For An Order Pursuant To 11 U.S.C.
Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i) Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4801, Filed 2/3/11);

Objection of Jenifer Maryak to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (1) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4802, Filed 2/3/11);

Response of Carroll Gray-Preston to Debtors’ Motion For An Order Pursuant To
11 U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i)
Approving The Stipulation By And Between NNI And U.S. Bank National
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Association, (ii) Directing U.S. Bank National Association To Turn Over
Property To NNI, And (iii) Granting Related Relief Related To The Nortel
Networks U.S. Deferred Compensation Plan (D.I. 4816, Filed 2/4/11);

Response of Kevin Garnica to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (4) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4817, Filed 2/4/11);

Objection of Alan B. Reid to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 G) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4818, Filed 2/4/11);

Objection of Enis Erkel to Debtors’ Motion For An Order Pursuant To 11 U.S.C.
Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i) Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4819, Filed 2/4/11);

Objection of Vince Iacoviello to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4821, Filed 2/4/11);

Objection of Peter Farranto to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (1) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4822, Filed 2/4/11);

Objection of Frank Bayno to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 () Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4823, Filed 2/4/11);
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Objection of Gordon Adamyk to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4824, Filed 2/4/11);

Objection of David Longaker to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4825, Filed 2/4/11);

Objection of Scott C. Peters to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4826, Filed 2/4/11);

Objection of Didier Werkoff to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4827, Filed 2/4/11);

Objection of Charla Crisler to Debtors’ Motion For An Order Pursuant To 11
USS.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4828, Filed 2/4/11);

Objection of David Ko to Debtors’ Motion For An Order Pursuant To 11 U.S.C.
Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i) Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4829, Filed 2/4/11);

Objection of Levon Habosian to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
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(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4830, Filed 2/4/11);

Objection of Patrick A. Davis to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.L. 4831, Filed 2/4/11);

Objection of Bart Kohnhorst to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 G@) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4832, Filed 2/4/11);

Objection of Raymond L. Strassburger to Debtors’ Motion For An Order Pursuant
To 11 U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i)
Approving The Stipulation By And Between NNI And U.S. Bank National
Association, (ii) Directing U.S. Bank National Association To Turn Over
Property To NNI, And (iii) Granting Related Relief Related To The Nortel
Networks U.S. Deferred Compensation Plan (D.I. 4833, Filed 2/4/11);

Objection of Vivek and Kamna Kapil to Debtors’ Motion For An Order Pursuant
To 11 U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i)
Approving The Stipulation By And Between NNI And U.S. Bank National
Association, (ii) Directing U.S. Bank National Association To Turn Over
Property To NNI, And (iii) Granting Related Relief Related To The Nortel
Networks U.S. Deferred Compensation Plan (D.I. 4834, Filed 2/4/11);

Objection of Gillian McColgan to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (11)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4835, Filed 2/4/11);

Objection of Chanrakant (Chand) V. Gundecha to Debtors’ Motion For An Order
Pursuant To 11 U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule
9019 G) Approving The Stipulation By And Between NNI And U.S. Bank
National Association, (ii) Directing U.S. Bank National Association To Turn
Over Property To NNI, And (iii) Granting Related Relief Related To The Nortel
Networks U.S. Deferred Compensation Plan (D.I. 4836, Filed 2/4/11);
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Objection of Brian Leonard to Debtors’ Motion For An Order Pursuant To 11
U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (4) Approving
The Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4838, Filed 2/4/11);

Objection of John Seligson (D.I. 4749, Filed 1/24/11);

Objection of David Hilbig to Motion For An Order Approving The Stipulation By
And Between NNI And U.S. Bank National Association, (11) Directing U.S. Bank
National Association To Turn Over Property To NNI, And (iii) Granting Related
Relief Related To The Nortel Networks U.S. Deferred Compensation Plan (D.I.
4857, Filed 2/7/11);

Response of Jeffrey D. Townley to Motion For An Order Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4845, Filed 2/4/11);

Objection of Mysore N. Prakash to Motion For An Order Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred

_ Compensation Plan (D.I. 4858, Filed 2/7/11);

Objection of Tom Chavez to Motion For An Order Approving The Stipulation By
And Between NNI And U.S. Bank National Association, (ii) Directing U.S. Bank
National Association To Turn Over Property To NNI, And (iii) Granting Related
Relief Related To The Nortel Networks U.S. Deferred Compensation Plan (D.I.
4852, Filed 2/7/11);

Objection of George Montgomery to Motion For An Order Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4875, Filed 2/7/11);

Objection of Basil Papantonis to Motion For An Order Approving The Stipulation
By And Between NNI And U.S. Bank National Association, (ii) Directing U.S.
Bank National Association To Turn Over Property To NNI, And (iii) Granting
Related Relief Related To The Nortel Networks U.S. Deferred Compensation
Plan (D.I. 4848, Filed 2/7/11);

Objection of Keith J. McNulty;

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Objection of Daniel Barran to Motion For An Order Approving The Stipulation
By And Between NNI And U.S. Bank National Association, (ii) Directing U.S.
Bank National Association To Turn Over Property To NNI, And (iii) Granting
Related Relief Related To The Nortel Networks U.S. Deferred Compensation
Plan (D.I. 4872, Filed 2/7/11);

Objection of Nora Winje to Motion For An Order Approving The Stipulation By
And Between NNI And U.S. Bank National Association, (ii) Directing U.S. Bank
National Association To Turn Over Property To NNI, And (iii) Granting Related
Relief Related To The Nortel Networks U.S. Deferred Compensation Plan (D.I.
4881, Filed 2/7/11);

Objection of Andrew J. Sutcliffe;

Objection of Gregory J. Hoy to Motion For An Order Approving The Stipulation
By And Between NNI And U.S. Bank National Association, (ii) Directing U.S.
Bank National Association To Turn Over Property To NNI, And (iii) Granting
Related Relief Related To The Nortel Networks U.S. Deferred Compensation
Plan (D.I. 4879, Filed 2/7/11);

Objection of Brian E. Page;

Objection of Edward Natiuk to Motion For An Order Approving The Stipulation
By And Between NNI And U.S. Bank National Association, (ii) Directing U.S.
Bank National Association To Turn Over Property To NNI, And (iii) Granting
Related Relief Related To The Nortel Networks U.S. Deferred Compensation
Plan (D.1. 4869, Filed 2/7/11);

Objection of Gerry Cabot to Motion For An Order Approving The Stipulation By
And Between NNI And U.S. Bank National Association, (ii) Directing U.S. Bank
National Association To Turn Over Property To NNI, And (iii) Granting Related
Relief Related To The Nortel Networks U.S. Deferred Compensation Plan (D.I.
4873, Filed 2/7/11);

Response of Mason James (Jim) Young to Motion For An Order Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4880, Filed 2/8/11);

Objection of Anthony M. Leger to Motion For An Order Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4851, Filed 2/7/11);

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(mmm) Objection of Susan M. Keegan to Debtors’? Motion to Grant Related Relief

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Related to the Nortel Networks U.S. Deferred Compensation Plan (D.I. 4896,
Filed 2/8/11);

Objection of Cynthia A. Schmidt To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4903, Filed 2/8/11);

Objection of Anthony and Lisa Perez to Motion For An Order Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4849, Filed 2/7/11);

Objection of Dennis J. Missini to Motion For An Order Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (11)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4874, Filed 2/7/11);

Response of Jobn P. Ryan, Jr. To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4890, Filed 2/8/11);

Response of Robert A. McCabe To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4885, Filed 2/7/11);

Objection of Robert M. Graham to Motion For An Order Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (11)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4868, Filed 2/7/11);

Objection of Bruce Klein to Motion For An Order Approving The Stipulation By
And Between NNI And U.S. Bank National Association, (ii) Directing U.S. Bank
National Association To Turn Over Property To NNI, And (iii) Granting Related
Relief Related To The Nortel Networks U.S. Deferred Compensation Plan (D.I.
4876, Filed 2/7/11);

Unsigned Objection;

Objection of Andrew Twynham to Motion For An Order Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4850, Filed 2/7/11);

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(www) Objection of Bruce Schofield to Motion For An Order Approving The Stipulation

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By And Between NNI And U.S. Bank National Association, (ii) Directing U.S.
Bank National Association To Turn Over Property To NNI, And (iii) Granting
Related Relief Related To The Nortel Networks U.S. Deferred Compensation
Plan (D.I. 4853, Filed 2/7/11);

Objection of Mauricio Cvjetkovic to Motion For An Order Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4854, Filed 2/7/11);

Objection of Egbert Clarke to Motion For An Order Approving The Stipulation
By And Between NNI And U.S. Bank National Association, (11) Directing U.S.
Bank National Association To Turn Over Property To NNI, And (iii) Granting
Related Relief Related To The Nortel Networks U.S. Deferred Compensation
Plan (D.I. 4855, Filed 2/7/11);

Objection of Moses Sun to Motion For An Order Approving The Stipulation By
And Between NNI And U.S. Bank National Association, (ii) Directing U.S. Bank
National Association To Turn Over Property To NNI, And (iii) Granting Related
Relief Related To The Nortel Networks U.S. Deferred Compensation Plan (D.I.
4856, Filed 2/7/11);

Response of William Barnes to Motion For An Order Approving The Stipulation
By And Between NNI And U.S. Bank National Association, (ii) Directing U.S.
Bank National Association To Turn Over Property To NNI, And (iii) Granting
Related Relief Related To The Nortel Networks U.S. Deferred Compensation
Plan (D.I. 4864, Filed 2/7/11);

(bbbb) Response of Richard Rose to Motion For An Order Approving The Stipulation By

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And Between NNI And U.S. Bank National Association, (ii) Directing U.S. Bank
National Association To Turn Over Property To NNI, And (iii) Granting Related
Relief Related To The Nortel Networks U.S. Deferred Compensation Plan (D.I.
4865, Filed 2/7/11);

Objection of Luc Dhondt to Motion For An Order Approving The Stipulation By
And Between NNI And U.S. Bank National Association, (ii) Directing U.S. Bank
National Association To Turn Over Property To NNI, And (iii) Granting Related
Relief Related To The Nortel Networks U.S. Deferred Compensation Plan (D.I.
4866, Filed 2/7/11);

Objection of Gregory S. Lagios to Motion For An Order Approving The

Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And

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(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (DI. 4867, Filed 2/7/11);

Objection of Samuel Layne to Motion For An Order Approving The Stipulation
By And Between NNI And U.S. Bank National Association, (ii) Directing U.S.
Bank National Association To Turn Over Property To NNI, And (iii) Granting
Related Relief Related To The Nortel Networks U.S. Deferred Compensation
Plan (D.I. 4870, Filed 2/7/11);

Objection of John C. Crowl to Motion For An Order Approving The Stipulation
By And Between NNI And U.S. Bank National Association, (ii) Directing U.S.
Bank National Association To Turn Over Property To NNI, And (iii) Granting
Related Relief Related To The Nortel Networks U.S. Deferred Compensation
Plan (D.I. 4871, Filed 2/7/11);

Objection of David F. Grant to Motion For An Order Approving The Stipulation
By And Between NNI And U.S. Bank National Association, (ii) Directing U.S.
Bank National Association To Turn Over Property To NNI, And (iii) Granting
Related Relief Related To The Nortel Networks U.S. Deferred Compensation
Plan (D.I. 4877, Filed 2/7/11);

Objection of Rob Keates to Motion For An Order Approving The Stipulation By
And Between NNI And U.S. Bank National Association, (ii) Directing U.S. Bank
National Association To Turn Over Property To NNI, And (iii) Granting Related
Relief Related To The Nortel Networks U.S. Deferred Compensation Plan (D.I.
4878, Filed 2/7/11);

Objection of Scott A Matheny To The Nortel Networks U.S. Deferred
Compensation Plan (D.1. 4886, Filed 2/8/11);

Objection of Mohan Dattatreya to the December 22, 2010 Motion allowing Nortel
to recapture the funds in the Deferred Compensation Plan (D.I. 4887, Filed
2/8/11);

Objection of John F Orbe to Debtors’ Motion Allowing Nortel to Recapture the
Funds in the Deferred Compensation Plan (D.I. 4888, Filed 2/8/11);

Objection of Inder Monga to Debtors’ Motion Allowing Nortel to Recapture the
Funds in the Deferred Compensation Plan (D.I. 4889, Filed 2/8/11);

(mmmm)Objection of Nicola (Nick) Garito to the Debtors Motion dated 12/22/2010 (D.I.

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4909, Filed 2/9/11);

Objection of Michael Heslop To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4892, Filed 2/8/11);

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Objection of Jagdish D. Dassani To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4891, Filed 2/8/11);

Objection of Michael Whitehurst To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4900, Filed 2/8/11);

Objection of Bakul Khanna & Chander Khanna To The Nortel Networks U.S.
Deferred Compensation Plan (D.I. 4893, Filed 2/8/11);

Objection of Tai Lavian To The Nortel Networks U.S. Deferred Compensation
Plan (D.1. 4894, Filed 2/8/11);

Objection of Robert Horne, James Young & the Ad Hoc Group of Beneficiaries
Debtors Motion for an Order Pursuant to 11 U.S.C. §§ 105, 541, 542 and 543 and
Bankruptcy Rule 9019 (I) Approving the Stipulation By and Between NNI and
U.S. Bank National Association, (II) Directing U.S. Bank National Association to
Turn Over Property to NNI, and (II) Granting Related Relief Related to the
Nortel Networks U.S. Deferred Compensation Plan (D.I. 4897, Filed 2/8/11);

Objection of Mara E. Foulois To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4902, Filed 2/8/11); and

Objection of Harold Seaman to Debtors’ Motion For An Order (i) Approving The
Stipulation By And Between NNI And U.S. Bank National Association, (ii)
Directing U.S. Bank National Association To Turn Over Property To NNI, And
(iii) Granting Related Relief Related To The Nortel Networks U.S. Deferred
Compensation Plan (D.I. 4972, Filed 2/23/11).

Related Pleadings:

(a)

(b)

(c)

Debtors’ Reply in Further Support of Debtors’ Motion For An Order Pursuant To
11 U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i)
Approving The Stipulation By And Between NNI And U.S. Bank National
Association, (ii) Directing U.S. Bank National Association To Turn Over
Property To NNI, And (iii) Granting Related Relief Related To The Nortel
Networks U.S. Deferred Compensation Plan (D.I. 4839, Filed 2/4/11);

Declaration of Daniel Ray in Support of Debtors’ Motion For An Order Pursuant
To 11 U.S.C. Sections 105, 541, 542 And 543 And Bankruptcy Rule 9019 (i)
Approving The Stipulation By And Between NNI And U.S. Bank National
Association, (ii) Directing U.S. Bank National Association To Turn Over
Property To NNI, And (iii) Granting Related Relief Related To The Nortel
Networks U.S. Deferred Compensation Plan (D.I. 4840, Filed 2/4/11); and

Verified Statement of Blank Rome LLP and Bernstein, Shur, Sawyer & Nelson,
P.A. Pursuant to Bankruptcy Rule 2019 (D.I. 5046, Filed 3/2/11).

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Status: The hearing on this matter has been adjourned to the hearing scheduled for
January 24, 2012 at 10:00 a.m. (ET).

Motion of Edmund B. Fitzgerald for Relief from the Automatic Stay (D.I. 5951, Filed
7/13/11).

Objection Deadline: August 1, 2011 at 4:00 p.m. (ET). Extended for the Debtors and the
Official Committee of Unsecured Creditors to September 7, 2011 at 4:00 p.m. (ET).

Responses Received: None at this time.

Related Pleadings:

(a) Motion of Edmund B. Fitzgerald for an Order Limiting Notice with Respect to
Motion for Relief from the Automatic Stay (D.I. 5952, Filed 7/13/11).

Status: This matter has been continued to a date to be determined.

UNCONTESTED MATTERS WITH CERTIFICATE OF NO OBJECTION (CNO) OR

CERTIFICATION OF COUNSEL (COC)

Nortel Networks Inc. v. Nathanson and Company, LLC, Adv. Proc. Case No. 10-53176

5.

Debtors’ Motion Pursuant to Bankruptcy Rule 9019 for Entry of an Order Approving the
Stipulation of Settlement of Avoidance Claims by and Between Nortel Networks Inc. and
Nathanson and Company LLC (Main Case D.I. 6371, Adv. Proc. D.I. 33, Filed 9/14/11).

Objection Deadline: October 5, 2011 at 4:00 p.m. (ET)

Response Received: None.

Related Pleading:

(a) Certificate of No Objection Regarding Debtors’ Motion Pursuant to Bankruptcy
Rule 9019 for Entry of an Order Approving the Stipulation of Settlement of
Avoidance Claims by and Between Nortel Networks Inc. and Nathanson and
Company LLC (Main Case D.I. 6571, Adv. Proc. D.I. 34, Filed 10/7/11); and

(b) Order Approving the Stipulation of Settlement of Avoidance Claims by and
between Nortel Networks Inc. and Nathanson and Company, LLC (Main
Case D.I. 6632, Adv. Proc. D.I. 36, Entered 10/7/11).

Status: An order has been entered regarding this matter. No hearing is necessary.

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Nortel Networks Inc. v. ITC Networks SRL, Adv. Proc. Case No. 10-55210

6.

Debtors’ Motion Pursuant to Bankruptcy Rule 9019 for Entry of an Order Approving the
Stipulation of Settlement of Avoidance Claims by and Between Nortel Networks Inc. and
ITC Networks SRL (Main Case D.I. 6446, Adv. Proc. D.I. 25, Filed 9/21/11).

Objection Deadline: October 5, 2011 at 4:00 p.m. (ET)

Response Received: None.

Related Pleading:

(a) Certificate of No Objection Regarding Debtors’ Motion Pursuant to Bankruptcy
Rule 9019 for Entry of an Order Approving the Stipulation of Settlement of
Avoidance Claims by and Between Nortel Networks Inc. and ITC Networks SRL
(Main Case D.I. 6572, Adv. Proc. D.I. 26, Filed 10/7/11); and

(b) Order Approving the Stipulation of Settlement of Avoidance Claims by and
between Nortel Networks Inc. and ITC Networks SRL (Main Case D.I. 6633,
Adv. Proc. D.I. 29, Entered 10/7/11).

Status: An order has been entered regarding this matter. No hearing is necessary.

Nortel Networks Inc. v. NeoPhotonics Corporation, Adv. Proc. Case No. 10-55167

7.

Debtors’ Motion Pursuant to Bankruptcy Rule 9019 for Entry of an Order Approving the
Stipulation of Settlement of Avoidance Claims by and Between Nortel Networks Inc. and
NeoPhotonics Corporation (Main Case D.I. 6447, Adv. Proc. D.I. 30, Filed 9/21/11),

Objection Deadline: October 5, 2011 at 4:00 p.m. (ET)

Response Received: None.

Related Pleading:

(a) Certificate of No Objection Regarding Debtors’ Motion Pursuant to Bankruptcy
Rule 9019 for Entry of an Order Approving the Stipulation of Settlement of
Avoidance Claims by and Between Nortel Networks Inc. and NeoPhotonics
Corporation (Main Case D.I. 6573, Adv. Proc. D.I. 32, Filed 10/7/11); and

(b) Order Approving the Stipulation of Settlement of Avoidance Claims by and
between Nortel Networks Inc. and NeoPhotonics Corporation (Main Case
D.I. 6635, Adv. Proc. D.I. 34, Entered 10/7/11).

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Status: An order has been entered regarding this matter. No hearing is necessary.

Motion of the Official Committee of Retired Employees Pursuant to 11 U.S.C. §§ 105(a),
1102(b)(3)(a), 1103(c), 1114(b)(2) and 114(k)(3) for Entry of an Order Clarifying its
Requirement to Provide Access to Information Under 11 U.S.C. § 1102(b)(3)(a) (D.I.
6458, Filed 9/22/11).

Objection Deadline: October 12, 2011 at 4:00 p.m. (ET)

Response Received: None.

Related Pleading:

(a)

(b)

Certificate of No Objection Regarding Motion of the Official Committee of
Retired Employees Pursuant to 11 U.S.C. §§ 105(a), 1102(b)(3)(a), 1103(c),
1114(b)(2) and 114(kK)@G) for Entry of an Order Clarifying its Requirement to
Provide Access to Information Under 11 U.S.C. § 1102(b)(3)(a) (D.I. 6595, Filed
10/14/11); and

Order Granting Motion of the Official Committee of Retired Employees for
Entry of an Order Clarifying Its Requirement to Provide Access to
Information (D.I. 6634, Entered 10/17/11).

Status: An order has been entered regarding this matter. No hearing is necessary.

Application for an Order Pursuant to 11 U.S.C. § 105(a), 1102(b)(3) and 1103(c)
Authorizing the Employment and Retention of Kurtzman Carson Consultants LLC as
Communications Agent for the Official Committee of Retired Employees and Approving
Related Agreement, Nunc Pro Tunc to September 9, 2011 (D.I. 6459, Filed 9/22/11).

Objection Deadline: October 12, 2011 at 4:00 p.m. (ET)

Response Received: None.

Related Pleading:

(a)

(b)

Certificate of No Objection Regarding Application for an Order Pursuant to 11
U.S.C. § 105(a), 1102(b)(3) and 1103(c) Authorizing the Employment and
Retention of Kurtzman Carson Consultants LLC as Communications Agent for
the Official Committee of Retired Employees and Approving Related Agreement,
Nunc Pro Tunc to September 9, 2011 (D.I. 6594, Filed 10/14/11); and

Order Authorizing The Employment and Retention of Kurtzman Carson
Consultants LLC as Communication Agent for the Official Committee of
Retired Employees and Approving Related Agreement, Nunc Pro Tunc to
September 9, 2011 (D.I. 6631, Entered 10/17/11).

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Status: An order has been entered regarding this matter. No hearing is necessary.

Nortel Networks Inc. v. LTS Managed Technical Services LLC, Adv. Proc. Case No. 10-55879

10.

Debtors’ Motion Pursuant to Bankruptcy Rule 9019 for Entry of an Order Approving the
Stipulation of Settlement of Avoidance Claims by and Between Nortel Networks Inc. and
LTS Managed Technical Service LLC (Main Case D.I. 6517, Adv. Proc. D.I. 24, Filed
9/28/11).

Objection Deadline: October 12, 2011 at 4:00 p.m. (ET)

Response Received: None.

Related Pleading:

(a) Certificate of No Objection Regarding Debtors’ Motion Pursuant to Bankruptcy
Rule 9019 for Entry of an Order Approving the Stipulation of Settlement of
Avoidance Claims by and Between Nortel Networks Inc. and LTS Managed
Technical Service LLC (Main Case D.I. 6621, Adv. Proc. D.I. 26, Filed
10/14/11); and

(b) Order Approving the Stipulation of Settlement of Avoidance Claims by and
between Nortel Networks Inc. and LTS Managed Technical Services LLC
(Main Case D.I. 6630, Adv. Proc. D.I. 28, Entered 10/7/11).

Status: An order has been entered regarding this matter. No hearing is necessary.

Nortel Networks Inc. v. Communications Test Design, Inc., Adv. Proc. Case No. 10-53065

11.

Debtors’ Motion for Entry of an Order Approving (I) Settlement Agreement Among
Nortel Parties and Communications Test Design, Inc. and (II) Related Side Agreement
Among Nortel Parties (D.I. 6518, Filed 9/28/11).

Objection Deadline: October 12, 2011 at 4:00 p.m. (ET)

Response Received: None.

Related Pleading:

(a) Notice of Continuation of Stay Proceedings (Adv. Proc. D.I. 240, Filed 10/14/11);

(b) Certificate of No Objection Regarding Docket No. 6518 (DI. 6618, Filed
10/14/11); and

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(c) Order Approving (I) Settlement Agreement Among Nortel Parties and
Communications Test Design, Inc. and (II Related Side Agreement Among
Nortel Parties (D.I. 6626, Entered 10/17/11).

Status: An order has been entered regarding this matter. No hearing is necessary.
Debtors’ Motion for Entry of an Order Authorizing the Debtors to File Under Seal (1) the
Unredacted Settlement Agreement Among Nortel Parties and Communications Test
Design, Inc. and (II) the Related Side Agreement Among Nortel Parties (D.I. 6519, Filed
9/28/11),

Objection Deadline: October 12, 2011 at 4:00 p.m. (ET)

Response Received: None.

Related Pleading:

(a) Certificate of No Objection Regarding Docket No. 6519 (DI. 6619, Filed
10/14/11); and

(b) Order Authorizing the Debtors to File Under Seal (I) the Unredacted
Settlement Agreement Among Nortel Parties and Communications Test
Design, Inc. and (II) Related Side Agreement Among Nortel Parties (D.I.
6627, Entered 10/17/11).

Status: An order has been entered regarding this matter. No hearing is necessary.

Nortel Networks Inc. v. McCann-Erickson Worldwide, Inc. et al., Adv. Proc. Case No. 10-55937

13,

Plaintiffs’ Motion Pursuant to 11 U.S.C. § 105(a), Federal Rules of Bankruptcy
Procedure 7004 and 9006, and Federal Rule of Civil Procedure 4(m) for Further
Enlargement of Time Period Provided by Rule 4(m) (Main Case D.I. 6526, Adv. Proc.
D.I. 109, Filed 9/28/11).

Objection Deadline: October 12, 2011 at 4:00 p.m. (ET)

Response Received: Informal comments received from Cable News Network, Inc., Time
Inc., and Turner Broadcasting Sales, Inc.

Related Pleading:

(a) Certification of Counsel Regarding [Proposed] Order Further Enlarging Time
Provided by Federal Rules of Civil Procedure 4(m) in Avoidance Action (Main
Case D.I. 6620, Adv. Proc. D.I. 110, Filed 10/14/11); and

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(b) Order Further Enlarging Time Provided by Federal Rules of Civil Procedure
4(m) in Avoidance Action (Main Case D.I. 6629, Adv. Proc. D.I. 112, Entered
10/17/11).

Status: An order has been entered regarding this matter. No hearing is necessary.

PRETRIAL CONFERENCE

14.

Dated:

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Pretrial Conference in the Adversary Proceedings (See Exhibit A, hereto).
(a) Beeline.com. Inc. Scheduling Order (Adv. Proc. D.I. 82, Entered 10/18/11).

Status: The pretrial conference with regard to the AudioCodes, Inc. matter has been
adjourned to the pretrial conference scheduled for November 29, 2011 at 10:00 a.m.
(ET). A separate proposed form of Amended Scheduling Order will be submitted
under certification of counsel with respect to the Beeline.com Inc. matter. A separate
proposed form of Scheduling Order will be submitted under certification of counsel with
respect to the Accton Technology Corporation matter.

October 18, 2011
Wilmington, Delaware
CLEARY GOTTLIEB STEEN & HAMILTON LLP
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/s/ Chad A. Fights
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Counsel for the Debtors and Debtors in Possession

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